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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS
                                   BENTON DIVISION

RICHARD SCOTT                                )
                                             )
       Plaintiff,                            )
                                             )
       vs.                                   )      No. 10-CV-25-DRH
                                             )
PORTFOLIO RECOVERY ASSOCIATES,               )
LLC                                          )
                                             )
       Defendant.                            )



                             NOTICE OF VOLUNTARY DISMISSAL


                             NOTICE OF VOLUNTARY DISMISSAL

      RICHARD SCOTT (Plaintiff), by his attorneys, KROHN & MOSS, LTD., and pursuant

to FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary Dismissal By Plaintiff Without Court

Order) voluntarily dismisses, with prejudice, PORTFOLIO RECOVERY ASSOCIATES, LLC

(Defendant), in this case.



DATED: February 18, 2010                  KROHN & MOSS, LTD.

                                    By:____/s/ Gregory Moss_______
                                          [ ]Gregory Moss
                                          Attorneys for Plaintiff
                                          Krohn & Moss, Ltd.
                                          10474 Santa Monica Blvd, Suite 401
                                          Los Angeles, CA 90025


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                                  VOLUNTARY DISMISSAL
